Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

      LADONA A. POORE,                                   )
                                                         )
             Plaintiff,                                  )
                                                         )
      v.                                                 ) Case No.: 11-CV-797-JED-TLW
                                                         )
      STANLEY GLANZ, et al.,                             )
                                                         )
                                                         )
             Defendants.                                 )

           PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND EXPENSES

             COMES NOW, the Plaintiff LaDona A. Poore (“Plaintiff”), and, pursuant

      to 42 U.S.C. § 1988, Rule 54 of the Federal Rules of Civil Procedure and

      LCvR54.2, respectfully moves the Court to enter an Order awarding her

      reasonable attorney’s fees and expenses as set forth herein. In support of this

      Motion, Plaintiff shows the Court the following:

                                         Introduction

             Plaintiff initially filed this action on December 23, 2011. Plaintiff brought

      this action to obtain some level of justice for egregious and repeated violations of

      her Constitutional right to be free from cruel and unusual punishment. Plaintiff

      brought claims against Defendant Stanley Glanz (“Former Sheriff Glanz” or

      “Glanz”), in his individual capacity (under the supervisor liability doctrine), and

      the Tulsa County Sheriff, in his official capacity (analyzed under the municipal

      liability doctrine).    All of these claims stem from the promulgation,

      implementation, and/or maintenance of policies, practices and/or customs that

      deprived Plaintiff of her federally protected rights.




                                                1
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 2 of 8




             Former Sheriff Glanz admitted during his deposition, and later at trial that

      “girls are disproportionately represented among sexual abuse victims” and that

      “youth incarcerated with adults are probably at the highest risk of sexual

      abuse.” Glanz Depo. at 25:16 – 26:5 (emphasis added). Considering the known,

      substantial and unique risks faced by juvenile female inmates, Former Sheriff

      Glanz should have taken special measures to protect these vulnerable prisoners

      from sexual abuse. However, he did just the opposite. He threw them to the

      wolves. Former Sheriff Glanz violated his own policies and failed to provide the

      juvenile female inmates with the same protections given to male juveniles.

      Former Sheriff Glanz placed the juvenile female inmates in a remote corner of the

      Tulsa County Jail’s medical unit that was not directly supervised, adequately

      staffed or monitored by surveillance equipment. It was here that Plaintiff, a

      juvenile female inmate, was repeatedly sexually assaulted by Seth Bowers

      (“Bowers”), a male detention officer. Each time, Bowers was left alone with

      Plaintiff -- without supervision -- in an area where he was free to commit his

      heinous acts without detection. Former Sheriff Glanz was deliberately indifferent

      to Plaintiff’s health and safety.

             Plaintiff struggled for years to have her story told and to secure a

      remedy. Defendants aggressively fought Plaintiff every step of the way, refusing

      to acknowledge any responsibility for their misdeeds. Defendants took this case

      all the way to trial without an inkling of introspection or compunction. At the

      end of that hard-fought road, Plaintiff was vindicated.      A jury of her peers

      determined that her constitutional rights were violated due to the deliberate




                                              2
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 3 of 8




      indifference of these Defendants.       Now, she seeks to recover an award of

      attorneys and expenses necessarily incurred in this litigation.

                                          Discussion

      A.      Plaintiff is Entitled to an Award of Reasonable Attorney’s Fees
              as She is the “Prevailing Party”

              This matter was tried -- on Plaintiff’s constitutional claims, brought

      pursuant to 42 U.S.C. § 1983 -- on February 19, 22, 23, 24, 25, 26, 29 and March

      1, 2016. After deliberating, on March 2, the jury entered a verdict in favor of

      Plaintiff and against Defendants Stanley Glanz and Michelle Robinette. See Dkt.

      #224.

              On March 2, 2016, the Court entered its final Judgment as follows:

              In accordance with the jury’s verdict (Doc. 224), judgment is hereby
              entered in favor of plaintiff, Ladona A. Poore, and against
              defendants, Stanley Glanz, in his individual capacity and Michelle
              Robinette, in her official capacity as Acting Sheriff, in the amount of
              $25,000 in compensatory damages.

      Dkt. #226.

              In pertinent part, 42 U.S.C. § 1988(b) provides that “[i]n any action or

      proceeding to enforce a provision of section[] … 1983 … of this title … the court,

      in its discretion, may allow the prevailing party … a reasonable attorney’s fee as

      part of the costs….”

              The “ordinary language” of § 1988 “requires that a plaintiff receive at least

      some relief on the merits of his claim before he can be said to prevail.” Hewitt v.

      Helms, 482 U.S. 755, 760 (1987). In Buckhannon Board & Care Home, Inc. v.

      West Virginia Dept. of Health & Human Resources, 532 U.S. 598, 604 (2001),

      the Supreme Court held that in order to “prevail” for the purposes of an award of



                                                3
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 4 of 8




      attorneys fees, the plaintiff must achieve some “‘material alteration of the legal

      relationship of the parties’” or a “court ordered ‘chang[e][in] the legal

      relationship between [the plaintiff] and the defendant.’” (quoting Tex. State

      Teachers Ass'n v. Garland Indep. School Dist., 489 U.S. 782, 792 (1989)). As

      examples, the Court pointed to “enforceable judgments on the merits and court-

      ordered consent decrees” as creating the necessary “material alteration” to render

      a plaintiff the “prevailing party.” Buckhannon, 532 U.S. at 604.

            The Supreme Court has determined that “even an award of nominal

      damages suffices under this test.” Buckhannon, 532 U.S. at 603-04 (citing Farrar

      v. Hobby, 506 U.S. 103, 113 S.Ct. 566, 121 L.Ed.2d 494 (1992)).

            “Although the power to award … fees is discretionary, that discretion is

      narrow once a civil rights plaintiff demonstrates that he is a ‘prevailing party.’”

      Robinson v. City of Edmond, 160 F.3d 1275, 1280 (10th Cir. 1998) (citing Phelps

      v. Hamilton, 120 F.3d 1126, 1129 (10th Cir.1997)). “[T]he plaintiff ordinarily

      should not have his vindication of these [civil] rights eviscerated by an

      obligation to pay his attorney’s reasonable fees.” Robinson, 160 F.3d at 1280

      (emphasis added). Indeed, the United States Supreme Court has held that “[i]f a

      plaintiff prevails in a suit covered by § 1988, fees should be awarded as

      costs unless special circumstances would render such an award

      unjust.” Kentucky v. Graham, 473 U.S. 159, 164 (1985) (emphasis added).

            Here, for the purposes of § 1988, Plaintiff is clearly the “prevailing party”

      as she obtained a judgment on the merits and an award of compensatory

      damages well in excess of a nominal amount. See, e.g., Autumn Wood Farms,

      LLC v. Bynum, 2015 OK CIV APP 90, ¶ 9, 361 P.3d 540, 543 (“$1.00 is typically


                                              4
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 5 of 8




      the amount awarded as nominal damages”). Thus, Plaintiff is entitled to an

      award of reasonable fees.

      B.    The Attorney’s Fees Sought by Plaintiff Are Reasonable

            In determining the reasonableness of a fee request, the Court should first

      calculate the “lodestar amount” of the fee. See Robinson, 160 F.3d at 1281

      (citations omitted). “The lodestar calculation is the product of the number of

      attorney hours ‘reasonably expended’ and a ‘reasonable hourly rate.’” Id. “‘Once

      an applicant for a fee has carried the burden of showing that the claimed rate and

      number of hours are reasonable, the resulting product is presumed to be a

      reasonable fee as contemplated by Section 1988.’” Id. (internal quotation from

      Cooper v. Utah, 894 F.2d 1169, 1171 (10th Cir. 1990)).

            1.     The Hours “Reasonably Expended”

            Through the filing of this Motion, attorneys on behalf of Plaintiff have

      reasonably expended the hours set forth in the attached exhibits for which

      compensation is requested. See Exs. A (SSR Time Records), B (Bullock Time

      Records) and C (Mortensen Time Records). See also Exs. D, E and F (Attorney

      Affidavits). The time expended by each of Plaintiff's attorneys is detailed in the

      attached records. The attached time records are meticulous. Plaintiff’s counsel

      avoided “block billing” to enable the Court to evaluate the reasonableness of the

      time expended on each specific task.

            The time for which an award is sought is hard billable time, reasonably

      expended on matters and activities, which are compensable. See Ramos v.

      Lamm, 713 F.2d 546, 553 (10th Cir. 1983), disapproved of on other grounds by




                                              5
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 6 of 8




      Pennsylvania v. Delaware Valley Citizens' Council for Clean Air, 483 U.S. 711

      (1987).

             2.      Reasonable Hourly Rates

             In setting the hourly rate, the Court must determine what lawyers of

      comparable skill and experience practicing in the area in which the litigation

      occurs would charge for their time. See Ramos, 713 F.2d at 555. The objective of

      this analysis is to arrive at prevailing market rates for counsel's services. A

      reasonable fee in civil rights cases is calculated according to prevailing market

      rates. See Blum v. Stenson, 465 U.S. 886, 895 (1984). In setting an hourly rate, a

      court should establish, from information provided to it and from its own analysis

      of the level of performance and skills of each lawyer whose work is to be

      compensated, a billing rate for each lawyer based upon the norm for comparable

      lawyers in private firms. Ramos, 713 F.2d at 555.

             Moreover, it is well established that that current hourly rates, rather than

      adjusted historic rates, should be used to compensate for delays in payment. Id.

             Here, Plaintiff seeks reasonable hourly rates for her attorneys as follows:

             Daniel Smolen        $400
             Donald Smolen        $400
             Bob Blakemore        $300
             Louis Bullock        $350
             Patricia Bullock     $300
             Thomas Mortensen     $325

      Plaintiff asserts that these are eminently reasonable market rates based upon the

      level of experience and skill of each attorney and rates which are paid to other

      lawyers of similar experience and skill. See, e.g., Exs. D, E and F (Attorney

      Affidavits).



                                               6
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 7 of 8




      C.     Plaintiff is Entitled to an Award of Reasonable Expenses

             Plaintiff also seeks recovery of reasonable expenses, which are fully

      compensable. Plaintiff’s requested expenses are set out and detailed in attached

      exhibits including legal assistants time. These are expenses which attorneys in

      this community typically bill to clients.

                                          Conclusion

             WHEREFORE, premises considered, Plaintiff seeks and award of

      attorneys fees and expenses as follows:

             Smolen Smolen & Roytman:             $329,110.00

             Bullock Law Firm:                    $218,737.06

             Thomas Mortensen:                    $111,312.50

             Total Fees and Expenses:             $659,159.56

                                                  Respectfully submitted,

                                                  /s/Robert M. Blakemore
                                                  Daniel E. Smolen, OBA #19943
                                                  danielsmolen@ssrok.com
                                                  Robert M. Blakemore, OBA #18656
                                                  bobblakemore@ssrok.com
                                                  Smolen Smolen & Roytman
                                                  701 South Cincinnati Avenue
                                                  Tulsa, OK 74119
                                                  Phone: (918) 585-2667
                                                  Fax: (918) 585-2669

                                                  Louis W. Bullock, OBA #1305
                                                  lbullock@bullock-blakemore.com
                                                  Patricia W. Bullock, OBA #9569
                                                  pbullock@bullock-blakemore.com
                                                  Bullock Law Firm
                                                  110 West Seventh Street, Suite 707
                                                  Tulsa, OK 74119
                                                  Phone: (918) 584-2001
                                                  Fax: (918) 779-4383



                                                  7
Case 4:11-cv-00797-JED-PJC Document 239 Filed in USDC ND/OK on 04/15/16 Page 8 of 8




                                                 Thomas A. Mortensen, OBA #19183
                                                 tmort70@hotmail.com
                                                 1331 South Denver Avenue
                                                 Tulsa, OK 74119
                                                 Phone: (918) 392-9992
                                                 Fax: (918) 392-9993

                                                 ATTORNEYS FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

             This is to certify that on this 15th day of April, 2016, a true and correct copy
      of the above and below was electronically transmitted to the Clerk of the Court
      using ECF System for filing with the Court and service upon all ECF-registered
      counsel of record.


                                                        /s/Robert M. Blakemore




                                                8
